               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                     Civil Case No. 1:12-cv-00124-MR
                 [Criminal Case No. 1:05-cr-00031-MR-2]


MARTINEOUS LEON HOPPER, )
                          )
         Petitioner,      )
                          )
    v.                    )                     ORDER
                          )
UNITED STATES OF AMERICA, )
                          )
         Respondent.      )
                          )

       THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside or Correct Sentence filed pursuant to 28 U.S.C. § 2255 [Doc. 1].

The Government has responded. [Doc. 9]. For the reasons that follow,

Petitioner’s Section 2255 motion will be dismissed.

I.     BACKGROUND

       On May 15, 2006, Petitioner was convicted on one count of

conspiracy to possess with intent to distribute cocaine base, in violation of

21 U.S.C. §§ 841(a)(1) and 846. Petitioner was sentenced to an active

term of 262 months’ imprisonment.       [Criminal Case No. 1:05-cr-00031,

Doc. 111: Judgment in a Criminal Case at 1-2]. Petitioner filed an appeal

to the United States Court of Appeals for the Fourth Circuit, but the appeal



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was dismissed on the motion of the Government. United States v. Hopper,

No. 06-4470 (4th Cir. filed Mar. 23, 2007) (unpublished). The Supreme

Court of the United States denied Petitioner’s petition for a writ of certiorari.

Hopper v. United States, 552 U.S. 869, 128 S. Ct. 167, 169 L.Ed.2d 114

(2007).

      On September 15, 2008, Petitioner filed a Section 2255 motion which

was granted based on the Court’s finding that Petitioner received

ineffective assistance of counsel. The Court found that Petitioner’s counsel

was ineffective for failing to object to the erroneous calculation of his

offense level which resulted in a sentence in excess of the lawful term.

Petitioner’s sentence was vacated and he was resentenced to a term of

188 months’ imprisonment. [See Civil Case No. 1:08-cv-00442, Doc. 3:

Memorandum and Order; Criminal Case No. 1:05-cr-00031, Doc. 200:

Amended Judgment in a Criminal Case].            Petitioner appealed from this

amended judgment to the Fourth Circuit. On appeal, Petitioner argued that

the district court should have treated his two prior state convictions for

assault as a single conviction, and therefore he did not qualify as a career

offender. The Court rejected this argument noting that the assault “charges

were separated by an intervening arrest” and therefore should be counted

as separate conviction for career offender purposes.           United States v.


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Hopper, 413 F. App’x 672, 673 (4th Cir. 2011) (unpublished). Petitioner’s

criminal judgment was affirmed in all respects. Id.

        On June 1, 2012, Petitioner filed the present Section 2255 motion

challenging his criminal judgment by raising claims of ineffective assistance

of counsel in his second sentencing hearing. First, Petitioner contends that

his resentencing counsel was ineffective for failing to object to and present

evidence concerning the two state court assault convictions, which

supported his designation as a career offender. Second, Petitioner alleges

his resentencing counsel erred in failing to raise a challenge to his assault

convictions based on the Supreme Court’s holding in Carachuri-Rosendo v.

Holder, __ U.S. __, 130 S.Ct. 2577, 177 L.Ed.2d 68 (2010).                 Last,

Petitioner maintains that his resentencing counsel was ineffective by not

filing a motion in Cleveland County Superior Court to challenge “the court’s

breach of plea agreement on the assault charges.” [Doc. 1-1 at 2-3].

II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable


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authority and concludes that this matter can be resolved without an

evidentiary hearing. See Raines v. United States, 423 F.2d 526, 529 (4th

Cir. 1970).

III.     DISCUSSION

         The Antiterrorism and Effective Death Penalty Act (“AEDPA”)

provides, in relevant part, that “[a] second or successive motion [under

Section 2255] must be certified as provided in Section 2244 by a panel of

the appropriate court of appeals to contain—

              (1) newly discovered evidence that, if proven and
              viewed in light of the evidence as a whole, would be
              sufficient to establish by clear and convincing
              evidence that no reasonable factfinder would have
              found the movant guilty of the offense; or

              (2) a new rule of constitutional law, made retroactive
              to cases on collateral review by the Supreme Court,
              that was previously unavailable.

28 U.S.C. § 2255(h).

         Two of the three issues raised by the Petitioner in this matter pertain

to the district court’s treatment of his prior state court assault convictions

and whether such convictions support his classification as a career

offender.     In his first claim for relief, Petitioner argues that during the

resentencing proceeding his counsel was ineffective for failing to object and

present evidence that his prior assault charges were “part of a common


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scheme or plan and consolidated by a ‘formal consolidation’ order and that

these offenses were not to be counted separately for career offender

purposes.” [Doc. 1-1 at 2]. In his third claim for relief, Petitioner contends

that his resentencing counsel was further ineffective for failing to challenge

“the [state] court’s breach of plea agreement on the assault charges” in

Cleveland County Superior Court. [Doc. 1-1 at 2-3].

      The Fourth Circuit has already determined that the prior assault

convictions were properly counted for purposes of establishing his status a

career offender.    The Court specifically found that “the district court

correctly found that [Petitioner’s] prior convictions counted as separate

convictions for the purpose of calculating his sentence under the career

offender guideline.” Hopper, 413 F. App’x at 673-74. The Fourth Circuit’s

determination of this issue forecloses presentation of Petitioner’s claims

here. See United States v. Bell, 5 F.3d 64, 66 (4th Cir. 1993) (holding that

the law of the case doctrine “forecloses relitigation of issues expressly or

impliedly decided by the appellate court.”); Boeckenhaupt v. United States,

537 F.2d 1182, 1183 (4th Cir. 1976) (“[O]nce a matter has been decided

adversely to a defendant on direct appeal it cannot be relitigated in a

collateral attack under Section 2255.”).     Accordingly, these claims are

dismissed.


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      In his second claim for relief, Petitioner argues that his resentencing

counsel was ineffective for failing to object to his assault convictions based

on the Supreme Court’s decision in Carachuri. Petitioner was resentenced

on July 27, 2009, some eleven months before the Supreme Court issued its

decision in Carachuri. The law is clear that an attorney’s failure to

anticipate a new rule of law is an insufficient ground to support a claim of

ineffective of assistance of counsel. See United States v. McNamara, 74

F.3d 514, 516-17 (4th Cir. 1996) (collecting cases). In any event, the Fourth

Circuit has held that Carachuri is not retroactive to cases on collateral

review. See United States v. Powell, 691 F.3d 554, 560-61 (4th Cir. 2012)

(“Because the Supreme Court’s decision in Carachuri at most altered the

procedural requirements that must be followed in applying recidivist

enhancements and did not alter the range of conduct or the class of

persons subject to criminal punishment, we hold that Carachuri is a

procedural rule. It is, therefore, not retroactively applicable to cases on

collateral review.”); see also United States v. Wheeler, No. 11-6643, 2012

WL 5417557, at *1 (4th Cir. Nov. 7, 2012) (unpublished) (noting that

“Wheeler’s claim for retroactive application of [Carachuri and our opinion in

Simmons] fails in light our recent opinion in [Powell]”); United States v.

Walker, 2012 WL 5359506, at *1 (4th Cir. Nov. 1, 2012) (unpublished)


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(holding that “Carachuri claims may not be raised retroactively in collateral

proceedings.”). This claim, therefore, is also dismissed.

        Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases,

the Court declines to issue a certificate of appealability as Petitioner has

not made a substantial showing of a denial of a constitutional right. 28

U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38, 123 S.Ct.

1029, 154 L.Ed.2d 931 (2003) (in order to satisfy § 2253(c), a petitioner

must demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484, 120 S.Ct. 1595, 146 L.Ed.2d 542 (2000)

(holding that when relief is denied on procedural grounds, a petitioner must

establish both that the correctness of the dispositive procedural ruling is

debatable, and that the petition states a debatably valid claim of the denial

of a constitutional right).

IV.     CONCLUSION

        IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255

Motion [Doc. 1] is DISMISSED as successive.

        IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.


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  IT IS SO ORDERED.
                            Signed: January 16, 2013




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